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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wealshire Rehab, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA The Wealshire Center of Excellence
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  150 Jamestown Ln                                              12 South Broadway
                                  Lincolnshire, IL 60069                                        Beverly Shores, IN 46301
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Lake                                                          Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.wealshire.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Wealshire Rehab, LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                8051

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    Wealshire Rehab, LLC                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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         Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re    Wealshire Rehab, LLC                                                                                    Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Arnold Goldberg                                             Class A               100%                                       Member
12 S. Broadway
Beverly Shores, IN 46301


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Sole Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date June 20, 2024                                                       Signature
                                                                                        Arnold Goldberg

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                         United States Bankruptcy Court
                                               Northern District of Illinois
 In re   Wealshire Rehab, LLC                                                        Case No.
                                                             Debtor(s)               Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Wealshire Rehab, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




June 20, 2024                                   /s/ Harold D. Israel
Date                                           Harold D. Israel
                                               Signature of Attorney or Litigant
                                               Counsel for Wealshire Rehab, LLC
                                               Levenfeld Pearlstein, LLC
                                               120 S. Riverside Plaza
                                               Suite 1800
                                               Chicago, IL 60606
                                               312-346-8380
                                               hisrael@lplegal.com
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                                               RESOLUTION
                                                      of
                                       WEALSHIRE REHAB, LLC
                                   (an Illinois limited liability company)

                                        Effective as of June 20, 2024

       Arnold Goldberg, in his capacity as the sole manager (the “Manager”) of Wealshire Rehab,
LLC, an Illinois limited liability company (the “Company”), hereby consents in writing to the
following resolutions.

        WHEREAS, the Manager has considered the financial and operational aspects of the
Company’s business and the recommendations of the Company’s professionals and advisors, and
adopts the following resolutions by written consent;

        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Manager, it is
desirable and in the best interest of the Company, its creditors, equity holder, and other interested
parties to file a petition (the “Petition”) seeking relief under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern
District of Illinois (the “Bankruptcy Court”);

         RESOLVED FURTHER, that the Petition is adopted in all respects. Arnold Goldberg (the
“Authorized Agent”) is hereby authorized and directed, on behalf of the Company, to execute the
Petition or authorize the execution of a filing of the Petition by the Company and to cause the same
to be filed with the Bankruptcy Court at such time as the Authorized Agent considers it appropriate;

        RESOLVED FURTHER, that the Authorized Agent shall be, and hereby is, authorized,
directed, and empowered on behalf of and in the name of the Company to execute, verify, and
cause to be filed such requests for relief from the Bankruptcy Court as the Authorized Agent may
deem necessary, proper, or desirable in connection with the Petition, with a view to successful
prosecution thereunder;

        RESOLVED FURTHER, that the Authorized Agent is authorized to execute and file on
behalf of the Company all petitions, schedules, lists, and other motions, papers, or documents, and
to take any and all action that it deems necessary or proper to obtain appropriate relief for the
Company, including, without limitation, any action necessary to maintain the ordinary course
operation of the Company’s business;

       RESOLVED FURTHER, that the law firm of Levenfeld Pearlstein, LLC shall be, and
hereby is, employed as general bankruptcy counsel for the Company in the Company’s chapter 11
case;

       RESOLVED FURTHER, that the Authorized Agent is authorized and empowered on
behalf of, and in the name of, the Company to retain and to employ other attorneys, brokers,
investment bankers, accountants, restructuring professionals, financial advisors, and other




LP 23770949.3 \ 48654-141468
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professionals to assist in the Company’s chapter 11 case on such terms as are deemed necessary,
proper, or desirable by the Authorized Agent;

        RESOLVED FURTHER, that the Authorized Agent, and any employees or agents
(including counsel) designated by or directed by such Authorized Agent, shall be, and each hereby
is, authorized and empowered to cause the Company and such of its affiliates as management
deems appropriate to enter into, execute, deliver, certify, file, record, and perform such
agreements, instruments, motions, affidavits, applications for approvals or rulings of governmental
or regulatory authorities, certificates, or other documents, and to take such other actions, as in the
judgment of such Authorized Agent shall be necessary, proper, and desirable to prosecute to a
successful completion of the Company’s chapter 11 case, to effectuate the restructuring of the
Company’s debt, other obligations, organizational form and structure, and ownership of the
Company and its subsidiaries consistent with the foregoing resolutions, and to carry out and put
into effect the purposes of the foregoing resolutions, and the transactions contemplated by these
resolutions, their authority thereunto to be evidenced by the taking of such actions;

                                      General Authorization

        RESOLVED FURTHER, that the Authorized Agent is authorized and empowered on
behalf of the Company and in its name to take or cause to be taken all actions and to execute and
deliver all such instruments that the Authorized Agent of the Company approves as necessary or
desirable in connection with the foregoing resolutions, such approval to be conclusively evidenced
by the taking of any such action or the execution and delivery of any such instrument by the
Authorized Agent of the Company;

       RESOLVED FURTHER, that any specific resolutions that may be required to have been
adopted in connection with the actions contemplated by the foregoing resolutions be, and they
hereby are, adopted, and the Authorized Agent of the Company is authorized to certify as to the
adoption of any and all such resolutions and attach such resolutions hereto; and

       RESOLVED FURTHER, that all actions heretofore taken by the Authorized Agent or of
the Company in connection with or otherwise in contemplation of the transactions contemplated
by any of the foregoing resolutions be, and they hereby are, ratified, confirmed, and approved.




                          [Remainder of Page Intentionally Left Blank]




                                                  2
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Fill in this information to identify the case:
Debtor name Wealshire Rehab, LLC
United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                   Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
NEXT LEVEL                                                                                                                                                    $533,045.55
HOSPITALITY
SERVICES
100 CHALLENGER
ROAD
SUITE 303
Ridgefield Park, NJ
07660
HEALTHCARE &                                                                                                                                                  $511,682.00
FAMILY SERVICES
HFS/BUREAU OF
FISCAL OPS
PO Box 19491
Springfield, IL
62794-9491
NURSA INC                                                                                                                                                     $296,794.06
DEPT 2310
PO BOX 122310
Dallas, TX
75312-2310
KEZIAH QUALITY                                                                                                                                                $291,692.12
NURSING
STAFFING
507 TRUMANS
COURT
Belvidere, IL 61008
KARE                                                                                                                                                          $199,270.44
TECHNOLOGIES(A
MERISOURCE)
PO BOX 4738
Houston, TX 77210
CENTERS FOR                                                                                                                                                   $197,290.00
MEDICARE AND
MEDICAID
7500 Security
Boulevard
Windsor Mill, MD
21244

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Debtor     Wealshire Rehab, LLC                                                                     Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
POINTCLICKCARE                                                                                                                                                $192,465.25
TECHNOLOGIES
INC
PO Box 674802
Detroit, MI
48267-4802
ANGELS                                                                                                                                                        $162,388.86
HOMECARE
SERVICES
2200 S MAIN ST
Lombard, IL 60148
LEVCO                                                                                                                                                         $133,390.61
TECHNOLOGIES
INC
601 21ST STREET
SUITE 300
Vero Beach, FL
32960
ABILITY REHAB                                                                                                                                                 $115,399.92
LLC
648 N River RD
Naperville, IL 60563
PROFESSIONAL                                                                                                                                                  $114,647.80
MEDICAL INC
PO BOX 1243
Bedford Park, IL
60499
PHARMSCRIPT OF                                                                                                                                                $109,865.59
IL LLC
PO BOX 5752
Somerset, NJ 08875
HEALTHCARE                                                                                                                                                    $107,398.47
SERVICES GROUP
3220 TILLMAN
DRIVE
SUITE 300
Bensalem, PA 19020
COM ED                                                                                                                                                          $98,846.72
PO Box 6112
Carol Stream, IL
60197-6111
DELTA T GROUP                                                                                                                                                   $75,860.39
PO BOX 884
Bryn Mawr, PA
19010
UNITED HEALTH                                                                                                                                                   $60,308.28
CARE
P.O.BOX 959782
Saint Louis, MO
63195-9782




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Debtor     Wealshire Rehab, LLC                                                                     Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
REED SMITH LLP                                                                                                                                                  $57,228.00
10 S Wacker Dr
Suite 4000
Chicago, IL 60606
PERFORMANCE                                                                                                                                                     $54,230.02
FOODSERVICE TPC
PO BOX 856746
Minneapolis, MN
55485
GORDON FOOD                                                                                                                                                     $53,167.83
SERVICE
P.O. Box 88029
Chicago, IL
60680-1029
TRANSITIONAL                                                                                                                                                    $50,000.00
CARE
MANAGEMENT
3333 Warrenville
Road,
Suite 200
Lisle, IL 60532




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                      A PLUS EXHAUST HOOD
                      15525 S WEBER RD
                      Romeoville, IL 60446


                      A PLUS FIRE PROTECTION SERVICES, IN
                      15525 S WEBER RD
                      Romeoville, IL 60446


                      ABILITY NETWORK INC
                      DEPT CH 16577
                      Palatine, IL 60055


                      ABILITY REHAB LLC
                      648 N River RD
                      Naperville, IL 60563


                      ACCU-TECH SERVICE INC
                      308 RUSTIC LANE
                      Algonquin, IL 60102


                      ACCURATE BIOMETRICS
                      500 Park Boulevard
                      Suite 1260
                      Itasca, IL 60143


                      ADVANTAGE AMBULANCE
                      8200 185th St
                      Tinley Park, IL 60487


                      AFFILIATED CUSTOMER SERVICE INC
                      1441 BRANDING LANE
                      Downers Grove, IL 60515


                      ALL-STAT PICC LINE LLC
                      8235 CHRISTINA AVE
                      Skokie, IL 60076


                      ALL-STAT PORTABLE X-RAY SERVICE
                      8235 CHRISTINA AVE
                      Skokie, IL 60076


                      ALPHA BAKING COMPANY INC
                      36230 TREASURY CENTER
                      Chicago, IL 60694
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                  ANDREW SUK LLC
                  2155 N ELSTON AVE
                  APT 245
                  Chicago, IL 60614


                  ANGELS HOMECARE SERVICES
                  2200 S MAIN ST
                  Lombard, IL 60148


                  APPLOI CORPORATION
                  PO BOX 22784
                  New York, NY 10087


                  ARNOLD GOLDBERG
                  12 S Broadway
                  Beverly Shores, IN 46301


                  ASCENTIUM CAPITAL
                  PO BOX 11407
                  Birmingham, AL 35246


                  BEAVER CREEK CONSTRUCTION LLC
                  640 N River Road
                  Naperville, IL 60563


                  BEDI & SINGER LLP
                  53 West Jackson Blvd
                  Chicago, IL 60604


                  BERNARD HEALTH
                  2817 WEST END AVE
                  SUITE 126-281
                  Nashville, TN 37203


                  BH Web Services LLC
                  2817 West End Avenue
                  Nashville, TN 37203


                  BIZMATCH LLC
                  6851 N CHERRY LANE
                  Lincolnwood, IL 60712


                  BUTTERFIELD HEALTH CARE GROUP, INC
                  640 N River Rd Suite 106
                  Naperville, IL 60563
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                  CALIFF & HARPER, P.C.
                  1515 5th Avenue, Suite 700
                  Moline, IL 61265


                  CAMBRIDGE REALTY CAPITAL LTD OF IL
                  1 N. LaSalle St. 37th Floor
                  Chicago, IL 60602


                  CAPITAL ONE
                  PO BOX 4069
                  Carol Stream, IL 60197-4069


                  CENTERS FOR MEDICARE AND MEDICAID
                  7500 Security Boulevard
                  Windsor Mill, MD 21244


                  CITY OF CHICAGO DEPT OF FINANCE
                  P.O. BOX 88292
                  Chicago, IL 60680-1292


                  CLEAN START SYSTEMS
                  PO BOX 59172
                  Chicago, IL 60659


                  CLIPBOARD HEALTH
                  440 N BARRANCA AVE
                  #5028
                  Covina, CA 91723


                  CMSA CHICAGO
                  PO BOX 7125
                  Westchester, IL 60154


                  COM ED
                  PO Box 6112
                  Carol Stream, IL 60197-6111


                  COMCAST
                  PO Box 3001
                  Southeastern, PA 19398-3001


                  CONNOR
                  AR BARE HILLS BUSS CENTER
                  1421 CLARKVIEW ROAD, SUITE 100
                  Baltimore, MD 21209
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                  CONSTELLATION NEWENERGY
                  PO BOX 5473
                  Carol Stream, IL 60197


                  COZZINI BROS INC
                  350 Howard Avenue
                  Des Plaines, IL 60018


                  CREATIVE SCAPE LANDSCAPERS INC
                  3236 W OLIVE AVE
                  Chicago, IL 60659


                  CROWN CARE SERVICES
                  PO BOX 86
                  Lakewood, NJ 08701


                  CYNTHIA CHOW & ASSOCIATES LLC
                  4801 W. Peterson Avenue
                  Suite #315
                  Chicago, IL 60646


                  DARLING INGREDIENTS
                  5601 N MACARTHUR BLVD
                  Irving, TX 75038


                  DE LAGE LANDEN FINANCIAL SERVICES
                  PO BOX 41602
                  Philadelphia, PA 19101


                  DELTA T GROUP
                  PO BOX 884
                  Bryn Mawr, PA 19010


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                  General Counsel, Department of Heal
                  200 Independence Avenue, S.W.
                  Washington, DC 20201


                  DEPARTMENT OF THE TREASURY
                  Internal Revenue Service
                  PO Box 7346
                  Philadelphia, PA 19101
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                  DIRECT TV
                  PO Box 5006
                  Carol Stream, IL 60197-5006


                  DR AJAY MADHANI
                  200 West Southfield Drive
                  Vernon Hills, IL 60061


                  eCapital Healthcare Corp.
                  20807 Biscayne Blvd, Suite 203
                  Miami, FL 33180


                  EDSON DEVELOPMENTS
                  6126 Factory Road
                  Kenilworth, IL 60043


                  EDWARD DON & COMPANY
                  2562 PAYSPHERE CIRCLE
                  Chicago, IL 60674


                  ELDERWORKS EDUCATIONAL SERVICES
                  251 E Northwest HWY
                  Palatine, IL 60067


                  ELITE MEDICAL TRANSPORTATION
                  PO Box 992
                  Mokena, IL 60448-5606


                  EMPIRE COOLER
                  805 N MILWAUKEE AVE
                  Chicago, IL 60642


                  ENTERTAIN 360 (fkaSENIOR TV)
                  975 E TALLMADGE AVE
                  Akron, OH 44310


                  FAMILY HVAC LLC
                  600 E RIORDAN ROAD
                  Villa Park, IL 60181


                  FIRST INSURANCE FUNDING
                  PO BOX 7000
                  Carol Stream, IL 60197
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                  FITZSIMMONS HOSPITAL SERVICES
                  PO Box 497
                  Oak Forest, IL 60452


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                  7734 S COUNTY LINE RD
                  Willowbrook, IL 60527


                  FUSION DESIGN GROUP LTD
                  30 N BARTON ST
                  New Buffalo, MI 49117


                  G L HILLS FUNERAL HOME
                  745 GRACELAND AVE
                  Des Plaines, IL 60016


                  GENERAL PARTS GROUP LLC
                  PO BOX 9201
                  Minneapolis, MN 55480


                  GLOBAL WATER TECHNOLOGY INC.
                  354 West Armory Dr
                  South Holland, IL 60473


                  GORDON FOOD SERVICE
                  P.O. Box 88029
                  Chicago, IL 60680-1029


                  GREATER CHICAGO TRANSIT
                  PO BOX 4310
                  Des Plaines, IL 60016


                  GREENWISE
                  8180 N. McCormick Blvd Suite 260
                  Skokie, IL 60076


                  GUARDIAN
                  PO BOX 677458
                  Dallas, TX 75267


                  HANGER, INC
                  PO BOX 650846
                  Dallas, TX 75265
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                  HD SUPPLY
                  P.O. BOX 509058
                  National City, CA 91950


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                  Springfield, IL 62703


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                  HFS/BUREAU OF FISCAL OPS
                  PO Box 19491
                  Springfield, IL 62794-9491


                  HEALTHCARE SERVICES GROUP
                  3220 TILLMAN DRIVE
                  SUITE 300
                  Bensalem, PA 19020


                  HEALTHIEST YOU
                  C/O TELADOC IN
                  DEPT LA 24542
                  Pasadena, CA 91185


                  HOH WATER TECH
                  PO BOX 487
                  Palatine, IL 60078


                  HOLLAND & HART
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                  Denver, CO 80217-0283


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                  Carol Stream, IL 60197-6057


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                  PO BOX 4263
                  Springfield, IL 62708
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                  ILLINOIS DEPARTMENT OF REVENUE
                  Bankruptcy Unit
                  P O Box 19035
                  Springfield, IL 62794


                  ILLINOIS DEPT. OF EMPLOYMENT SEC.
                  Benefit Payment Control Division
                  P O Box 4385
                  Chicago, IL 60680


                  INNER SECURITY SYSTEMS
                  418 TREASURE DRIVE
                  Oswego, IL 60543


                  INOVALON PROVIDER
                  PO BOX 856015
                  Minneapolis, MN 55485


                  INSIGHT DRUG TESTING
                  622 South Harbor Drive
                  Noblesville, IN 46062


                  INTEGRA IL
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                  Elmhurst, IL 60126


                  JC LICHT
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                  PO BOX 87618
                  Chicago, IL 60680


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                  623 IPSWICH CT
                  Elk Grove Village, IL 60007


                  JIVETEL
                  2 BROOKS EDGE DRIVE
                  New City, NY 10956


                  KARE TECHNOLOGIES(AMERISOURCE)
                  PO BOX 4738
                  Houston, TX 77210
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                  KEZIAH QUALITY NURSING STAFFING
                  507 TRUMANS COURT
                  Belvidere, IL 61008


                  L.B. HALL FIREPROOFING
                  6126 Factory Road
                  Crystal Lake, IL 60014


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                  3rd FLOOR-BUSINESS OFFICE
                  3010 GRAND AVENUE
                  Waukegan, IL 60085


                  LAKE COUNTY TREASURER
                  18 N County St Room #102
                  Waukegan, IL 60085


                  Law Office of Antwan M. Williams
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                  Suite 4500
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                  LEGACY HEALTHCARE
                  3450 OAKTON STREET
                  Skokie, IL 60076


                  LEVCO TECHNOLOGIES INC
                  601 21ST STREET
                  SUITE 300
                  Vero Beach, FL 32960


                  LINCOLN FIRE PRO
                  115 SCHELTER ROAD
                  Lincolnshire, IL 60069


                  LINCOLNSHIRE HEALTH CARE CENTER
                  8380 Virginia St
                  Merrillville, IN 46410


                  LINCOLNSHIRE LIVING & REHAB CENTER
                  3450 Oakton Street
                  Skokie, IL 60076
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                  LIQUITECH
                  421 EISENHOWER LANE S
                  Lombard, IL 60148


                  LISA MENOTTI
                  2364 Dawson Lane
                  Algonquin, IL 60102


                  MANAGEMENT & NETWORK SERVICES
                  PO BOX 373996
                  Cleveland, OH 44193


                  MARCO TECHNOLOGIES LLC
                  PO BOX 1450
                  Minneapolis, MN 55485-7128


                  MECOR
                  1000 INDUSTRIAL DRIVE
                  SUITE 3B
                  Bensenville, IL 60106


                  MEDLINE INDUSTRIES INC
                  DEPT CH 14400
                  Palatine, IL 60055-4400


                  MEIKEM SUPPLY
                  534 N YORK RD
                  Bensenville, IL 60106


                  Merchant Services
                  PO BOX 9599
                  Knoxville, TN 37940


                  MICHELLE DAMICO COMM LLC
                  3914 BARRENVILLE ROAD
                  Crystal Lake, IL 60012


                  MILLER & MERTKE CONSULTING CORP
                  150 Jacaranda Country Club DR Apt 2
                  Fort Lauderdale, FL 33324


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                  PO BOX 621
                  Skokie, IL 60076
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                  NANCY REED



                  NATIONAL DATACARE CORP
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                  Chantilly, VA 20153-2430


                  NETSMART TECH
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                  Philadelphia, PA 19171


                  NEXT LEVEL HOSPITALITY SERVICES
                  100 CHALLENGER ROAD
                  SUITE 303
                  Ridgefield Park, NJ 07660


                  NLAL Hospitality Services
                  Attn: Mark D. Villanueva
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                  PO BOX 6050
                  Carol Stream, IL 60197


                  NORTH SHORE SIGN
                  PO BOX 56296
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                  NURSA INC
                  DEPT 2310
                  PO BOX 122310
                  Dallas, TX 75312-2310


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                  Vernon Hills, IL 60061


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                  Evansville, IN 47708


                  ONE STEP
                  804 W 4th ST
                  Davenport, IA 52802
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                  PAMSKI SOLUTIONS
                  12973 MILLERSBURG RD SW
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                  PARAGON MECHANICAL INC
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                  Arlington Heights, IL 60005


                  Patrick G. Cooke
                  330 North Wabash Ave., Ste. 3300
                  Chicago, IL 60611


                  PAYLOCITY
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                  Schaumburg, IL 60173


                  PERFORMANCE FOODSERVICE TPC
                  PO BOX 856746
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                  PERSONNEL PLANNERS INC
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                  N-3A
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                  PHARMSCRIPT OF IL LLC
                  PO BOX 5752
                  Somerset, NJ 08875


                  POINTCLICKCARE TECHNOLOGIES INC
                  PO Box 674802
                  Detroit, MI 48267-4802


                  POLSINELLI PC
                  PO BOX 878681
                  Kansas City, MO 64187


                  PRARIE FARMS
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                  8038 CENTRAL PARK AVE
                  Skokie, IL 60076
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                  PROCARE MEDICAL SUPPLIES
                  PO BOX 740939
                  Orange City, FL 32774


                  PROFESSIONAL MEDICAL INC
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                  PROSHRED CHICAGO
                  7700 GRAPHICS DRIVE
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                  QUENCH USA
                  630 ALLENDALE ROAD
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                  King of Prussia, PA 19406


                  R. Jeremy Adamson
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                  RALPH WEINER ASSOCIATES LLC
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                  REDWOOD SYSTEMS INC
                  18635 WEST CREEK DR
                  SUITE 2
                  Tinley Park, IL 60477


                  REED SMITH LLP
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                  Chicago, IL 60606


                  REGAL BUSINESS MACHINES INC
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                  Chicago, IL 60607


                  ROBERT NELSON
                  7006 W 115th ST
                  Worth, IL 60482


                  ROTO ROOTER
                  5672 Collection Center Drive
                  Chicago, IL 60693-0056
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                  SCHINDLER ELEVATOR CORP
                  PO BOX 93050
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                  SECRETARY OF STATE
                  115 S. LaSalle St., Ste. 300
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                  SELECT REHABILITATION LLC
                  2600 COMPASS ROAD
                  Glenview, IL 60026


                  SENTRY PEST CONTROL INC
                  3600 W Jarvis Avenue
                  Skokie, IL 60076


                  Sher, LLP
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                  Skokie, IL 60077


                  SHIFTKEY LLC
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                  Dallas, TX 75373


                  SILVER CONCIERGE
                  2000 Webber Street
                  Suite 129
                  Sarasota, FL 34239


                  SMARTLINX SOLUTIONS LLC
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                  New York, NY 10087


                  SNOWPLUSHER INC
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                  Melrose Park, IL 60164


                  SPECIAL CARE
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                  STRAIGHT CARE STAFFING NURSING AGEN
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                  SYNAPSE HEALTH
                  1603 ORRINGTON AVE
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                  Systems Piping
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                  TELEMEDICINE SOLUTIONS LLC
                  425 N MARTINGALE RD
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                  TOP NOTCH PROMOTIONS
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                  Deerfield, IL 60015


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                  Suite 200
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                  PO BOX 847340
                  Los Angeles, CA 90084
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                  UNITED HEALTH CARE
                  P.O.BOX 959782
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                  VARIFAX SYSTEMS
                  2851 W Avenue
                  L-OFC 200
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                  WAREHOUSE DIRECT
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                  WASHTOWN
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                  PO Box 4648
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                  WATER SERVICES CO
                  848 OLIVE ST
                  Elgin, IL 60120


                  WEALSHIRE PLUS LLC
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                  WebEnvy
                  350 Oaks Trail
                  Suite 203
                  Garland, TX 75043
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                  WELL SKY
                  11300 SWITZER ROAD
                  Overland Park, KS 66210


                  XTREME FIRE PROTECTION INC
                  8052 186th St
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